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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                          CASE NO. 10-61300-CIV-ALTONAGA/Brown

 THOMAS GRANINO,

         Plaintiff,
 vs.

 AMERICAN CORADIUS
 INTERNATIONAL, LLC,

       Defendant.
 _______________________/

                             ORDER OF DISMISSAL WITH PREJUDICE

         THIS CAUSE came before the Court on the parties’ Joint Stipulation for Dismissal with

 Prejudice [ECF No. 6], filed September 20, 2010. Being fully advised, it is

         ORDERED AND ADJUDGED that this matter is DISMISSED with prejudice. Each

 party shall bear its own fees and costs. If the parties wish the Court to retain jurisdiction to enforce

 their agreement, they are to submit the written agreement to the Court within thirty (30) days of the

 date of this Order. The Clerk shall CLOSE this case, and all pending motions are DENIED as

 moot.

         DONE AND ORDERED in Chambers at Miami, Florida, this 20th day of September, 2010.



                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE
 cc:     counsel of record
